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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                                                 CASE NO.:
  HOWARD COHAN,

          Plaintiff,

  vs.                                                             INJUNCTIVE RELIEF SOUGHT


  CITYPLACE HOTEL, LLC,
  a Foreign Limited Liability Company,
  d/b/a HILTON WEST PALM BEACH

        Defendant(s).
  ____________________________________/

                                             COMPLAINT

          Plaintiff, HOWARD COHAN (“Plaintiff”), by and through the undersigned counsel,

  hereby files this Complaint and sues CITYPLACE HOTEL, LLC, a Foreign Limited Liability

  Company, d/b/a HILTON WEST PALM BEACH (“Defendant”), for declaratory and injunctive

  relief, attorneys’ fees, expenses and costs (including, but not limited to, court costs and expert fees)

  pursuant to 42 U.S.C. § 12182 et. seq., and the 2010 Americans with Disabilities Act (“ADA”)

  and alleges as follows:

                                    JURISDICTION AND VENUE

          1.      This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C.

  §§ 1331, 343 for Plaintiff’s claims arising under Title 42 U.S.C. § 12182 et. seq., based on

  Defendant’s violations of Title III of the ADA. See also, 28 U.S.C. §§ 2201, 2202, as well as the

  2010 ADA Standards.

          2.      Venue is proper in this Court, West Palm Beach Division, pursuant to 28 U.S.C. §

  1391(B) and Internal Operating Procedures for the United States District Court For the Southern
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  District of Florida in that all events giving rise to the lawsuit occurred in Palm Beach County,

  Florida.

                                                  PARTIES

          3.      Plaintiff, HOWARD COHAN is sui juris and is a resident of the State of Florida

  residing in Palm Beach County, Florida.

          4.      Upon information and belief, Defendant is the lessee, operator, owner and lessor of

  the Real Property, which is subject to this suit, and is located at 600 Okeechobee Blvd., West Palm

  Beach, Florida 33410 (“Premises”), and is the owner of the improvements where Premises is

  located.

          5.      Defendant is authorized to conduct, and is in fact conducting, business within the

  state of Florida.

          6.      Plaintiff is an individual with numerous permanent disabilities including severe

  spinal stenosis of the lumbar spine with spondylolisthesis; severe spinal stenosis of the cervical

  spine with nerve root compromise on the right side; a non-union fracture of the left acromion

  (shoulder); a labral tear of the left shoulder; a full thickness tear of the right rotator cuff; a right

  knee medial meniscal tear; a repaired ACL and bilateral meniscal tear of the left knee; and severe

  basal joint arthritis of the left thumb. The above listed permanent disabilities and symptoms cause

  sudden onsets of severe pain and substantially limit Plaintiff’s major life activities. At the time of

  Plaintiff’s visits to the Premises on February 14, 2020 and November 6, 2020, (and prior to

  instituting this action), Plaintiff suffered from a “qualified disability” under the ADA, and required

  a fully accessible and properly marked passenger loading zone, fully accessible restrooms, safe

  and unobstructed access to the pool and pool area, and fully accessible service and eating areas.

  Plaintiff personally visited the Premises but was denied full and equal access and full and equal
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  enjoyment of the facilities and amenities within the Premises, even though he would be classified

  as a “bona fide patron”.

         7.      Plaintiff, in his individual capacity, will absolutely return to the Premises and avail

  himself of the services offered when Defendant modifies the Premises or modifies the policies and

  practices to accommodate individuals who have physical disabilities.

         8.      Plaintiff is continuously aware of the violations at Defendant's Premises and is

  aware that it would be a futile gesture to return to the Premises as long as those violations exist,

  and Plaintiff is not willing to suffer additional discrimination.

         9.      Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a

  result of Defendant's discrimination until Defendant is compelled to comply with the requirements

  of the ADA.

         10.     Plaintiff would like to be able to be a patron of the Premises in the future and be

  able to enjoy the goods and services that are available to the able-bodied public, but is currently

  precluded from doing so as a result of Defendant's discriminatory conduct as described herein.

  Plaintiff will continue to be precluded from using the Premises until corrective measures are taken

  at the Premises to eliminate the discrimination against persons with physical disabilities.

         11.     Completely independent of the personal desire to have access to this place of public

  accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the purpose of

  discovering, encountering and engaging discrimination against the disabled in public

  accommodations. When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff

  personally visits the public accommodation; engages all of the barriers to access, or at least of

  those that Plaintiff is able to access; tests all of those barriers to access to determine whether and

  the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such
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  discrimination; and subsequently returns to Premises to verify its compliance or non-compliance

  with the ADA and to otherwise use the public accommodation as members of the able-bodied

  community are able to do. Independent of other subsequent visits, Plaintiff also intends to visit

  the Premises regularly to verify its compliance or non-compliance with the ADA, and its

  maintenance of the accessible features of Premises. In this instance, Plaintiff, in Plaintiff’s

  individual capacity and as a “tester”, visited Premises, encountered barriers to access at Premises,

  and engaged and tested those barriers, suffered legal harm and legal injury, and will continue to

  suffer such harm and injury as a result of the illegal barriers to access and the ADA violations set

  forth herein. It is Plaintiff’s belief that said violations will not be corrected without Court

  intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

         12.     Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

  Defendant modifies the Premises or modifies the policies and practices to accommodate

  individuals who have physical disabilities to confirm said modifications have been completed in

  accordance with the requirements of the ADA.

                VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

         13.     Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 12

  above as if fully stated herein.

         14.     On July 26, 1990, Congress enacted the Americans With Disabilities Act (“ADA”),

  42 U.S.C. § 12101 et. seq. Commercial enterprises were provided one and a half (1.5) years from

  enactment of the statute to implement its requirements. The effective date of Title III of the ADA

  was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or fewer employees and

  gross receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. § 36.508(a).

         15.     Congress found, among other things, that:
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         a. some 43,000,000 Americans have one or more physical or mental disabilities, and this

               number shall increase as the population continues to grow older;

         b. historically, society has tended to isolate and segregate individuals with disabilities and,

               despite some improvements, such forms of discrimination against disabled individuals

               continue to be a pervasive social problem, requiring serious attention;

         c. discrimination against disabled individuals persists in such critical areas as

               employment, housing, public accommodations, transportation, communication,

               recreation, institutionalization, health services, voting and access to public services and

               public facilities;

         d. individuals with disabilities continually suffer forms of discrimination, including

               outright   intentional   exclusion,      the   discriminatory   effects   of   architectural,

               transportation, and communication barriers, failure to make modifications to existing

               facilities and practices. Exclusionary qualification standards and criteria, segregation,

               and regulation to lesser services, programs, benefits, or other opportunities; and,

         e. the continuing existence of unfair and unnecessary discrimination and prejudice denies

               people with disabilities the opportunity to compete on an equal basis and to pursue

               those opportunities for which our country is justifiably famous, and accosts the United

               States billions of dollars in unnecessary expenses resulting from dependency and non-

               productivity.

  42 U.S.C. § 12101(a)(1)-(3),(5) and (9).

         16.       Congress explicitly stated that the purpose of the ADA was to:

         a. provide a clear and comprehensive national mandate for elimination of discrimination

               against individuals with disabilities;
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          b. provide clear, strong, consistent, enforceable standards addressing discrimination

                against individuals with disabilities; and

          c. invoke the sweep of congressional authority, including the power to enforce the

                fourteenth amendment and to regulate commerce, in order to address the major areas

                of discrimination faced on a daily basis by people with disabilities.

  U.S.C. § 12101(b)(1)(2) and (4).

          17.      Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010 ADA Standards,

  Defendant’s Premises is a place of public accommodation covered by the ADA by the fact it

  provides services to the general public and must be in compliance therewith.

          18.      Defendant has discriminated and continues to discriminate against Plaintiff and

  others who are similarly situated, by denying access to, and full and equal enjoyment of goods,

  services, facilities, privileges, advantages and/or accommodations located at the Premises, as

  prohibited by 42 U.S.C. § 12182 and 42 U.S.C. § 12101 et. seq., and by failing to remove

  architectural barriers pursuant to 42 U.S.C. § 12182(b)(2)(A)(iv).

          19.      Plaintiff has visited Premises, and has been denied full and safe equal access to the

  facilities and therefore suffered an injury in fact.

          20.      Plaintiff would like to return and enjoy the goods and/or services at Premises on a

  spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by the

  Defendant’s failure and refusal to provide disabled persons with full and equal access to their

  facilities. Therefore, Plaintiff continues to suffer from discrimination and injury due to the

  architectural barriers that are in violation of the ADA.

          21.      Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department

  of Justice, Office of the Attorney General promulgated Federal Regulations to implement the
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  requirements of the ADA. See 28 C.F.R. § 36 and its successor the 2010 ADA Standards ADA

  Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. § 36, under which said

  Department may obtain civil penalties of up to $55,000.00 for the first violation and $110,000.00

  for and subsequent violation.

          22.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

  U.S.C. § 12182 et. seq. and the 2010 American Disabilities Act Standards et. seq., and is

  discriminating against Plaintiff as a result of, inter alia, the following specific violations:

          PASSENGER LOADING ZONE:

          a. Failure to provide a passenger loading zone with an access aisle marked with striping

                in violation of 2010 ADAAG §§209, 209.1, 209.4, 503, 503.1, 503.3 and 503.3.3.

          MEN’S RESTROOM GENERAL (near Oceana)

          b. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

                exceeding the limits for a person with a disability in violation of 2010 ADAAG §§404,

                404.1, 404.2, 404.2.9 and 309.4.

          MEN’S RESTROOM ACCESSIBLE STALL (near Oceana)

          c. Failure to provide the proper spacing between a grab bar and an object projecting out

                of the wall in violation of 2010 ADAAG §§609, 609.1 and 609.3. (Toilet seat cover

                dispenser)

          d. Failure to provide a coat hook within the proper reach ranges for a person with a

                disability in violation of 2010 ADAAG §§603, 603.4 and 308.

          e. Failure to provide the water closet in the proper position relative to the side wall or

                partition in violation of 2010 ADAAG §§604 and 604.2.
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        f. Failure to provide the water closet seat at the correct height above the finished floor in

           violation of 2010 ADAAG §§604 and 604.4.

        g. Failure to provide the proper spacing between a grab bar and an object projecting out

           of the wall in violation of 2010 ADAAG §§609, 609.1 and 609.3.

        h. Providing grab bars of improper horizontal length or spacing as required along the

           rear or side wall in violation of 2010 ADAAG §§604, 604.5, 604.5.1 and 604.5.2.

           (rear)

        i. Providing grab bars of improper horizontal length or spacing as required along the

           rear or side wall in violation of 2010 ADAAG §§604, 604.5, 604.5.1 and 604.5.2.

           (side)

        POOL & POOL AREA

           j. Failure to provide sufficient number of means of entry at the pool as required for

           persons with a disability such as a pool lift chair, sloped entry, transfer wall or

           transfer platform in violation of 2010 ADAAG §§242, 242.1, 242.2 and 1009.

           k. Failure to provide a means of entry at the spa as required for persons with a

           disability such as a pool lift chair, sloped entry, transfer wall or transfer platform in

           violation of 2010 ADAAG §§242, 242.1, 242.2 and 1009.

        LAPLAYA BAR AREA

           l. Providing counter heights exceeding 36 inches making it impossible to service a

           person with a disability in violation of 2010 ADAAG §§904, 904.4, 904.4.1, 904.4.2,

           305 and 306.

           m. Failure to provide accessible seating for person(s) with a disability at a bar or

           adjacent table in the bar area, recreational area or a table area adjacent to a pool for
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           food or beverage service, or at a computer work surface such as in a business center, in

           violation of 2010 ADAAG §§902, 902.1, 902.2, 902.3, 305, 306 and/or §4.32.4 of the

           1991 ADA Standards.

           n. Failure to provide seating for a person(s) with a disability that has the correct clear

           floor space for forward approach in violation of 2010 ADAAG §§902, 902.2, 305 and

           306.

        MEN’S RESTROOM GENERAL (near Coral Ballroom)

           o. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

           exceeding the limits for a person with a disability in violation of 2010 ADAAG §§404,

           404.1, 404.2, 404.2.9 and 309.4.

        MEN’S RESTROOM GENERAL (at Coral Ballroom)

           p. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

           exceeding the limits for a person with a disability in violation of 2010 ADAAG §§404,

           404.1, 404.2, 404.2.9 and 309.4.

           q. Providing a swinging door or gate with improper maneuvering clearance(s) due to

           a wall or some other obstruction in violation of 2010 ADAAG §§404, 404.1, 404.2,

           404.2.4 and 404.2.4.1. (trash can in maneuvering clearance)

           r. Providing pathways and or aisles that are too narrow in violation of 2010 ADAAG

           §§403, 403.1 and 403.5.1.

        MEN’S RESTROOM ACCESSIBLE STALL (at Coral Ballroom)

           s. Failure to provide proper signage for an accessible restroom or failure to redirect a

           person with a disability to the closest available accessible restroom facility in violation
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                 of 2010 ADAAG §§216, 216.2, 216.6, 216.8, 603, 703, 703.1, 703.2, 703.5 and

                 703.7.2.1.

                 t. Failure to provide the water closet in the proper position relative to the side wall or

                 partition in violation of 2010 ADAAG §§604 and 604.2.

                 u. Failure to provide the proper spacing between a grab bar and an object projecting

                 out of the wall in violation of 2010 ADAAG §§609, 609.1 and 609.3. (toilet seat cover

                 dispenser)

                 v. Failure to provide a coat hook within the proper reach ranges for a person with a

                 disability in violation of 2010 ADAAG §§603, 603.4 and 308.

                 w. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

                 exceeding the limits for a person with a disability in violation of 2010 ADAAG §§404,

                 404.1, 404.2, 404.2.9 and 309.4.

           MEN’S RESTROOM GENERAL (Gallery)

                 x. Providing grab bars of improper horizontal length or spacing as required along the

                 rear or side wall in violation of 2010 ADAAG §§604, 604.5, 604.5.1 and 604.5.2.

                 (rear)

           23.       To the best of Plaintiff’s belief and knowledge, Defendant has failed to eliminate

   the specific violations set forth in paragraph 22 herein.

           24.       Although Defendant is charged with having knowledge of the violations, Defendant

   may not have actual knowledge of said violations until this Complaint makes Defendant aware of

   same.
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          25.     To date, the readily achievable barriers and other violations of the ADA still exist

   and have not been remedied or altered in such a way as to effectuate compliance with the

   provisions of the ADA.

          26.     As the owner, lessor, lessee or operator of the Premises, Defendant is required to

   comply with the ADA. To the extent the Premises, or portions thereof, existed and were occupied

   prior to January 26, 1992, the owner, lessor, lessee or operator has been under a continuing

   obligation to remove architectural barriers at the Premises where removal was readily achievable,

   as required by 28 C.F.R. §36.402.

          27.     To the extent the Premises, or portions thereof, were constructed for occupancy

   after January 26, 1993 the owner, lessor, lessee or operator of the Premises was under an obligation

   to design and construct such Premises such that it is readily accessible to and usable by individuals

   with disabilities, as required by 28 C.F.R. §36.401.

          28.     Plaintiff has retained the undersigned counsel for the filing and prosecution of this

   action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and expenses paid by

   Defendant, pursuant to 42 U.S.C. § 12205.

          29.     All of the above violations are readily achievable to modify in order to bring

   Premises or the Facility/Property into compliance with the ADA.

          30.     In instance(s) where the 2010 ADAAG standard does not apply, the 1991 ADAAG

   standard applies and all of the violations listed in paragraph 22 herein can be applied to the 1991

   ADAAG standards.

          31.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

   Plaintiff’s injunctive relief, including an order to alter the subject facility to make them readily
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   accessible to and useable by individuals with disabilities to the extent required by the ADA and

   closing the Subject Facility until the requisite modifications are completed.

          WHEREFORE, Plaintiff demands judgment against Defendant and requests the following

   injunctive and declaratory relief:

              1. That this Court declares that Premises owned, operated and/or controlled by
                 Defendant is in violation of the ADA;
              2. That this Court enter an Order requiring Defendant to alter their facilities to make
                 them accessible to and usable by individuals with disabilities to the full extent
                 required by Title III of the ADA;
              3. That this Court enter an Order directing the Defendant to evaluate and neutralize
                 their policies, practices and procedures toward persons with disabilities, for such
                 reasonable time so as to allow the Defendant to undertake and complete corrective
                 procedures to Premises;
              4. That this Court award reasonable attorney’s fees, all costs (including, but not
                 limited to the court costs and expert fees) and other expenses of suit to the Plaintiff;
                 and,
              5. That this Court award such other and further relief as it may deem necessary, just
                 and proper.

          Dated December 11, 2020.

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